                         Case 8:17-cv-03704-TJS Document 39 Filed 12/14/17 Page 1 of 4

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             DENISE PAJOITE                              *        TN THE
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                                Plaintiff                *        CIRCUIT COURT                                ,..._,          oo
                                                         *        FOR
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                          vs.                            *        PRINCE GEORGE'S COUNTY 0                         """" 0
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             LYNETTE PAJOTTE,                            *        Case No.: CALI6-40434   ;                             ~
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                    Defendants                          *
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                         MOTION FOR LEAVE TO FILE MOTION FOR EXTENSION OF TIME
                           TO RESPOND TO THE DEFENDANT'S MOTION TO DISMISS

                    The Plaintiff, by and through her attorney, moves this Honorable Court for Leave to File
             a Motion for Extension of Time to ~espond to the Defendant's Motion to Dismiss and for
             reason's state:

                    1.    Defendant Metropolitan filed its Motion to Dismiss on September 27, 2017, to which
                         the Response was due on October 16, 2017.
                    2.   The undersigned attorney was involved in numerous trials since the filing of the
                         Defendant's Motion and was unable to present a Response or to file this Motion for
                         Extensioo of Time. See Casesearch.
                    3.   Additionally, the undersigned was involved with a family emergency in the midst of
                         managing her trial schedule and the demands of the solo office.
                    4.   The undersigned was in an intense trial for two days on October 12, 13 and another
                         one on Octoberl6, 2017.
                    5.   Although the undersigned made efforts to complete the Motion for Extension of
                         Time, she was unable to file it timely due to the reasons stated herein.
                    6.   The undersigned's office is located in Baltimore City, Maryland and she is a solo
                         practitioner in the midst of securing staff due to staff changes.
                    7.   Additionally, simultaneous to this Motion, the undersigned filed a Second Amended
                         Complaint and a Motion for Leave to Add a Party.

               .   Wherefore, the Plaintiff, Moves this Honorable Court to qrant her leave to file the
             Response to file a Response to the Defendant's Motion to Disiniss.

             October 18,2017                            ~Submitted,


                                                         Jessie   L~ord,         Esquire
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rf1                                       Law Office of Jessie Lyons Crawford, LLC
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                                          Baltimore, Maryland 21218
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                                          attomeyjlcrawford@verizon.net
                                          Attorney for the Plaintiff
                Case 8:17-cv-03704-TJS Document 39 Filed 12/14/17 Page 3 of 4




~;   DENISE PAJOITE                               *   IN THE

                        Plaintiff                 *   CIRCUIT COURT

                                                  *   FOR

                  vs.                             *   PRINCE GEORGE'S COUNTY

     LYNEITE PAJOITE,                             *   Case No.: GAL16-40434
     Et AI.
                                                  *
              Defendants
                                    **************************
                                       CERTIFICATE OF SERVICE


              I HEREBY CERTIFY that I mailed a first class postage prepaid copy of the

     foregoing Motion for Leave to file a Response to the Motion to Dismiss to the following

     counsel on this l'th day of October, 2017:

              Samantha Granderson, Esquire
              Bacon, Thornton, & Palmer, LLP
              6411 Ivy Lane, Suite 500
              Greenbelt, MD 20770
              Attorney for the Defendants
              Lynette Pajotte and Estate of
              Tyson Pajotte

              Jim Carbine, Esquire
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              Attorney for Reliastar Insurance

              Gail L. Westover
              Curtis Arnold, Jr.
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              700 Sixth Street, NW, Suite 700
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